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ATLANTA D|V|S|ON
mr\/ir£slv. HA%
By [/:;%j /?' pl.€(;l:rk

UN|TED STATES OF A|VlER|CA,

Plaintiff, 5
vs. CASE NO. 1:09-l\/lJ-1271
JENN|FER KR|ST|N PENDLETON- :
STEWART,

Defendant.

ORDER APPOINT|NG COUNSEL
Judy Fleming

The above-named defendant has testified under oath or has filed With the Court
an affidavit of financial status and hereby satisfied this Court that he or she is financially
unable to employ counsel.

Accordingly, the FEDERAL DEFENDER PROGRAM, lNC., is hereby appointed
to represent this defendant in the above-captioned case unless relieved by an Order of
this Court or by Order of the Court of Appeals.

Dated at Atlanta, Georgia this 8th day of October, 2009.

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UN|TED STATES MAGI$:FRATE JUDGE

 

